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        &lt;div&gt;&lt;header&gt;&lt;center&gt;&lt;b&gt;&lt;/b&gt;&lt;p data-paragraph-id="93fc4ab8bc"&gt;&lt;span data-sentence-id="4cdd93917f" quote="false" data-paragraph-id="93fc4ab8bc"&gt; In Re People &lt;br /&gt; v.&lt;/span&gt; &lt;br /&gt; Wright, Calvin &lt;/p&gt;&lt;p data-paragraph-id="e35371589f"&gt;No. 22SA207&lt;/p&gt;&lt;p data-paragraph-id="d3fe84847c"&gt;&lt;span data-sentence-id="d3fe84847c" quote="false" data-paragraph-id="d3fe84847c"&gt;Supreme Court of Colorado&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="9b149680de"&gt;June 27, 2022&lt;/p&gt;&lt;/center&gt;&lt;/header&gt;&lt;br /&gt;&lt;!--OPINION TEXT STARTS HERE--&gt;
 &lt;p data-paragraph-id="b90ea0827a"&gt;&lt;span data-sentence-id="1c03a35988" quote="false" data-paragraph-id="b90ea0827a"&gt; ORIGINAL PROCEEDING &lt;/span&gt;&lt;/p&gt;
 &lt;p id="MajorityOpinion" data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="dd1a8fc77a"&gt;&lt;span data-sentence-id="5c36cae8d5" quote="false" data-paragraph-id="dd1a8fc77a"&gt; Order to Show Cause issued June 23, 2022 &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;1&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;/div&gt;
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